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                                                                                  FILED
                                  UNITED STATES DISTRICT COURT             December 07, 2023
                                 EASTERN DISTRICT OF CALIFORNIA            CLERK, US DISTRICT COURT
                                                                             EASTERN DISTRICT OF
                                                                                  CALIFORNIA


UNITED STATES OF AMERICA,                           Case No. 2:23-cr-00293-DJC

                   Plaintiff,

      v.                                                 ORDER FOR RELEASE OF
                                                          PERSON IN CUSTODY
RICHARD ALAN ABRUSCI,

                   Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release RICHARD ALAN ABRUSCI,

Case No. 2:23-cr-00293-DJC, Charge 18 U.S.C. § 1343, from custody for the following

reasons:

           X Release on Personal Recognizance

              Bail Posted in the Sum of $

                      Unsecured Appearance Bond $

                      Appearance Bond with 10% Deposit

                      Appearance Bond with Surety

                      Corporate Surety Bail Bond

                      (Other):

              Sacramento County Jail is further ORDERED to release the defendant with a
           X 30-day supply of any medications the defendant is receiving from the jail.

      Issued at Sacramento, California on December 07, 2023 at 2:40 p.m.

                                       By:

                                             Magistrate Judge Jeremy D. Peterson
